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                   UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF INDIANA
                         EVANSVILLE DIVISION
  IN RE:                            )
         JAMES LELAND WALTERS JR    ) CASE NO.23-70093–AKM-13
         HEATHER L WALTERS          )
              DEBTOR(S)             )

                    TRUSTEE’S OBJECTION TO COURT CLAIM #019

       Comes now Robert P. Musgrave, Trustee, and having reviewed the claim and other relevant
pleadings and documents in this cause does now OBJECT pursuant to FRBP 3007 to the claim of
Deaconess Hospital (“Creditor”), Trustee Claim #003/Court Claim #019 (“Proof”), for the
following reason:
           1. Creditor failed to file a proof of claim prior to the claims bar date of April
               20, 2023.
           2. Debtors filed a proof of claim on behalf of Creditor on May 2, 2023, which
               was timely under BR 3004 stating that the payments were to be made to
               Med 1 Solutions, a collection agent located in Greenwood, Indiana, which
               often works for Creditor (“Med 1”).
           3. The Trustee, pursuant to the Proof, disbursed funds to Med 1. The funds
               were returned to the Trustee, with a notation that it did not handle the claim
               on which the disbursement had been made.
           4. Debtors now seek to amend the Proof, changing the payee name and
               address.
           5. There are two issues with this attempted amendment:
                    a. BR 3004 only permits the debtor to file a proof of claim on
                       behalf of the creditor. No power is given for the debtor to
                       amend a proof of the creditor, whether filed by the creditor
                       or by an other party; and
                    b. The new address which the debtors use in their attempt to
                       amend the Proof is an address which appears no where on
                       the Trustee’s records, and which is believed to be invalid.

       WHEREFORE, the Trustee prays the Court disallow the claim in its entirety, and for all
other relief deemed appropriate in the premises.
                                              Notice
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         You are hereby notified that you have thirty (30) days from the date below to file a response
  to the Trustee’s Objection to Claim above. In accordance with Local Rule S.D. Ind. B 9013-1,
  such response should be in writing and filed with the office of the clerk at Winfield K. Denton
  Federal Building, 101 NW ML King Jr. Blvd, Suite 352, Evansville, IN 47708, with a copy to the
  Trustee at the address below. If no response is timely filed, then the Court may enter an order
  sustaining the objection to claim(s) without further notice.

                                                  Respectfully Submitted,


                                                  /s/Robert P. Musgrave
March 20, 2024                                    Robert P. Musgrave
                                                  Chapter 13 Trustee
                                                  P.O. Box 972
                                                  Evansville, IN 47706-0972
                                                  Telephone: (812) 424-3029
                                                  Fax: (812) 433-3464
                                                  Email address: trusteegeneral@chap13evv.com


                                   CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing pleading was served upon the
  following parties, either personally, electronically or by first-class mail March 20, 2024:

  U.S. Trustee
  101 West Ohio Street, Suite 1000
  Indianapolis, IN 46204

   KEVIN S. KINKADE
   ATTORNEY AT LAW
   123 NW 4TH ST, STE 201
   EVANSVILLE, IN 47708-1725

   JAMES LELAND WALTERS JR
   HEATHER L WALTERS
   628 E DELAWARE ST
   EVANSVILLE, IN 47711-

   DEACONESS HOSPITAL
   520 MARY STREET
   #340
   EVANSVILLE, IN 47710

   STEVEN M. THEISING
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 REGISTERED AGENT FOR DEACONESS HOSPITAL INC
 501 MAIN STREET
 SUITE 305
 EVANSVILLE, IN 47708

 MED-1 SOLUTIONS LLC
 517 US HIGHWAY 31 N
 GREENWOOD, IN 46142

                                    /s/Robert P. Musgrave
                                    Robert P. Musgrave
                                    Chapter 13 Trustee
                                    P.O. Box 972
                                    Evansville, IN 47706-0972
                                    Telephone: (812) 424-3029
                                    Fax: (812) 433-3464
                                    Email address: trusteegeneral@chap13evv.com
